 OAO 245B      (Rev. 09/11) Judgment in a Criminal Case
               Sheet 1


                                          United States District Court
                   MIDDLE                                         District of                              TENNESSEE

         UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                              V.
                                                                            Case Number:           3:11-00194-13
         STERLING RENEVA RIVERS
                                                                            USM Number:            19231-078

                                                                            Sterling Reneva Rivers, pro se at trial; and Jeffrey S. Frensley as counsel
                                                                            at sentencing
                                                                            Defendant’s Attorney
THE DEFENDANT:
            pleaded guilty to count(s)
            pleaded nolo contendere to count(s)
            which was accepted by the court.
 X           was found guilty on count(s) One (1), Three (3), Seven (7), Sixteen (16), Eighteen (18), Nineteen (19), and Twenty-One
             (21) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                         Nature of Offense                                                   Offense Ended              Count

21 U.S.C. § 846                         Conspiracy to Distribute and Possess with Intent to                September 16, 2011       One (1)
                                        Distribute 280 Grams or More of Crack Cocaine
                                        and Cocaine
18 U.S.C. § 922(k)                      Possession of Firearm with Obliterated Serial No.                  December 12, 2009        Three (3)
18 U.S.C. § 922(d)(1)                   Sale of a Firearm to a Convicted Felon                             June 3, 2010             Seven (7)
21 U.S.C. § 841(a)(1)                   Possession with Intent to Distribute Crack Cocaine                 January 7, 2011          Sixteen (16)
21 U.S.C. § 841(a)(1)                   Possession with Intent to Distribute Crack Cocaine                 April 7, 2011            Eighteen (18)
21 U.S.C. § 841(a)(1)                   Distribution and Possession with Intent to Distribute              May 17, 2011             Nineteen (19)
                                        Crack Cocaine
18 U.S.C. § 2                           Aiding and Abetting the Distribution and Possession                June 2, 2011             Twenty-One (21)
                                        with Intent to Distribute Crack Cocaine

        The defendant is sentenced as provided in pages 2 through          6            of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

   X      The defendant has been found not guilty on count(s) Eleven (11), Seventeen (17), Twenty (20) and Twenty-Two (22)
   X      Count(s) Two (2)                  is dismissed on the motion of the United States.

         It is ordered that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                      January 28, 2014
                                                                                      Date of Imposition of Judgment


                                                                                      Signature of Judge

                                                                                      Todd J. Campbell, U.S. District Judge
                                                                                      Name and Title of Judge

                                                                                      January 28, 2014
                                                                                      Date


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                                                               IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

     Three Hundred Thirty-Six (336) months as follows:                               .

           Count One (1): Three Hundred Thirty-Six (336) months concurrent with all other Counts
           Count Three (3): Sixty (60) months concurrent with all other Counts
           Count Seven (7): One Hundred Twenty (120) months concurrent with all other Counts
           Counts Sixteen (16), Eighteen (18), Nineteen (19), and Twenty-One (21): Two Hundred Forty (240) months on each Count and
            concurrent with all other Counts

     X       The court makes the following recommendations to the Bureau of Prisons:

             1. Mental health counseling.
             2. Incarceration at a BOP facility that can provide appropriate medical treatment.

      X      The defendant is remanded to the custody of the United States Marshal.

             The defendant shall surrender to the United States Marshal for this district:

                                       at                                                a.m.             p.m. on

                                       as notified by the United States Marshal.

             The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                                       before 2 p.m. on                                         .

                                       as notified by the United States Marshal.

                                       as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
I have executed this judgment as follows:




           Defendant delivered on                                  to

at                                              , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL



                                                                            By
                                                                                                DEPUTY UNITED STATES MARSHAL
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                                                              SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a total term of: five (5) years as follows:

          Count One (1): five (5) years concurrent with all other Counts.
          Counts Three (3) and Seven (7): three (3) years concurrent with all other Counts.
          Counts Sixteen (16), Eighteen (18), Nineteen (19), and Twenty-One (21): three (3) years on each Count and concurrent with all other
            Counts.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the Court.

           The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future substance
           abuse. (Check, if applicable.)
      X    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
      X    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
           The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
           student, as directed by the probation officer. (Check, if applicable.)
           The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                             STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or any
          paraphernalia related to any controlled substances, except as prescribed by a physician;

8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
          granted permission to do so by the probation officer;

10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer;

11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
          court; and

13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with
          such notification requirement.


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                                 SPECIAL CONDITIONS OF SUPERVISION


1.   The Defendant is prohibited from owning, carrying or possessing firearms, ammunition, destructive devices or
     other dangerous weapons.

2.   The Defendant shall participate in a program of drug testing and substance abuse treatment which may include
     a 30-day inpatient treatment program followed by up to 90 days in a community correction center at the direction
     of the Probation Officer. The Defendant shall pay all or part of the cost for substance abuse treatment if the United
     States Probation Office determines the Defendant has the financial ability to do so or has appropriate insurance
     coverage to pay for such treatment.

3.   The Defendant shall furnish all financial records, including, without limitation, earnings records and tax returns,
     to the United States Probation Office upon request.

4.   The Defendant shall be required to participate in an adult education program and prove consistent effort, as
     determined appropriate by the United States Probation Office, toward obtaining a General Equivalency Diploma
     (GED).

5.   The Defendant shall not contact Vanelli Starks or Christie Kimbril, or any member of their immediate family, and
     the United States Probation Office will verify compliance.

6.   The Defendant shall not be involved with gang activity, including but not limited to Vice Lords, possess any gang
     paraphernalia or associate with any person affiliated with a gang.

7.   The Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.




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                                              CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the attached sheet.

                           Assessment                                        Fine                                Restitution
TOTALS                     $700.00                                           $0.00                               $0.00



          The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such determination.

          The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
          in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
          paid before the United States is paid.

Name of Payee                                                  Total Loss*                             Restitution Ordered                Priority
or Percentage




TOTALS                                                 $                                      $

          Restitution amount ordered pursuant to plea agreement $

          The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule of Payments
          sheet may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                            the interest requirement is waived for the                 fine               restitution.

                            the interest requirement for the                  fine            restitution is modified as follows:


*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.




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                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A                            Lump sum payment of $                              due immediately, balance due

                                         not later than                        , or
                                         in accordance                C,                  D,                  E, or                  F below; or

B            X               Payment to begin immediately (may be combined with                     C,          D, or            F below); or

C                            Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $           over a period of
                                                  (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this
                             judgment; or

D                            Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $           over a period of
                                               (e.g., months or years), to commence                    (e.g., 30 or 60 days) after release from
                             imprisonment to a term of supervision; or

E                            Payment during the term of supervised release will commence within             (e.g., 30 or 60 days) after release
                             from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at
                             that time; or

F                            Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


                  Joint and Several

                  Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
                  and corresponding payee, if appropriate.




                  The defendant shall pay the cost of prosecution.

                  The defendant shall pay the following court cost(s):

                  The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) penalties, and (8) costs, including the cost of prosecution and court costs.




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